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                           UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA

   10 PLUTOS SAMA HOLDINGS, INC.
   11                 Plaintiff(s),
                                                  CASE NO:
   12         v.                                  8:21−cv−00133−JVS−JDE
   13 JAGEX LIMITED , et al.
                                                  ORDER SETTING RULE 26(f)
   14                                             SCHEDULING CONFERENCE
   15                Defendant(s).                Monday, July 26, 2021 at 10:30 AM
   16
   17
   18
              This case has been assigned to Judge James V. Selna. If plaintiff has not
   19
        already served the complaint (or any amendment thereto) on all defendants,
   20
        plaintiff shall promptly do so and shall file proofs of service within three days
   21   thereafter. Defendants also shall timely serve and file their responsive pleadings
   22   and file proofs of service within three days thereafter.
   23
   24         This matter is set for a scheduling conference on the above date. The
   25   conference will be held pursuant to Fed.R.Civ.P., Rule 16(b). The parties are
   26   reminded of their obligations under Fed.R.Civ.P., Rule 26(a)(1) to disclose
   27   information (without awaiting a discovery request) and under Rule 26(f) to confer
   28   ///

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        on a discovery plan not later than twenty−one (21) days prior to the scheduling
   2
        conference and to file a Joint Rule 26(f) Report not later than fourteen (14) days
   3    after they confer. Failure to comply with the following requirements or to
   4    cooperate in the preparation of the Joint Rule 26(f) Report may lead to the
   5    timposition of sanctions.
   6
   7          Unless there is a likelihood that upon motion by a party the

   8    Court would order that any or all discovery is premature, it is advisable for
   9    counsel to begin to conduct discovery actively before the Scheduling
   10   Conference. At the very least, the parties shall comply fully with the letter
   11   and spirit of Rule 26(a) and thereby obtain and produce most of what would
   12   be produced in the early stage of discovery.
   13
   14         1.    Joint Rule 26(f) Report.
   15
   16              The Joint Rule 26(f) Report, which shall be filed not later than one
   17   week before the scheduling conference, shall be drafted by plaintiff (unless the
   18   parties agree otherwise), but shall be submitted and signed jointly. "Jointly"
   19   contemplates a single report, regardless of how many separately−represented

   20   parties there are. The Joint Rule 26(f) Report shall report on all matters
   21   enumerated below, which include those required to be discussed by Rule 26(f)

   22   and Local Rule 26:

   23
   24         a.   Synopsis: a short synopsis (not to exceed two pages) of the main

   25              claims, counterclaims, and/or affirmative defenses.

   26         b.   Legal issues: a brief description of the key legal issues.
   27         c.   Damages: the realistic range of provable damages.
   28   ///

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            d.   Insurance: whether there is insurance coverage, the extent of
   2
                 coverage, and whether there is a reservation of rights.
   3        e.   Motions: a statement of the likelihood of motions seeking to (i) add
   4             other parties or claims or (ii) file amended pleadings or (iii) transfer
   5             venue.
   6        f.   Discovery and experts: pursuant to Rule 26(f), state what, if any,
   7             changes in the disclosures under R. 26(a) should be made; the
   8             subjects on which discovery may be needed and whether discovery
   9             should be conducted in phases or otherwise be limited; what
   10            discovery has been conducted thus far; whether applicable
   11            limitations should be changed or other limitations imposed; and
   12            whether the Court should enter other orders. Please state how many
   13            depositions each side will conduct. Also discuss the proposed time
   14            of expert witness disclosures under F.R.Civ.P. 26(a)(2).
   15       g.   Dispositive motions: a description of the issues or claims that any
   16            party believes may be determined by motion for summary judgment
   17            or motion in limine.
   18       h.   Settlement and settlement mechanism: a statement of what settlement

   19            discussions and/or written communications have occurred (specifically

   20            excluding any statement of the terms discussed) and a statement
   21            pursuant to the Local Rule 16−14.4 selecting a settlement mechanism
   22            under that rule.
   23       i.   Trial estimate: realistic estimate of the time required for trial and

   24            whether trial will be by jury or by court. Each side should specify

   25            (by number, not by name) how many witnesses it contemplates

   26            calling. If the time estimate for trial given in the Rule 26(f) Joint
   27            Report exceeds eight court days, counsel shall be prepared to discuss
   28            in detail the estimate.

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              j.   Timetable: complete of the Presumptive Schedule of Pretrial Dates
   2               form attached as Exhibit A to this Order and attach it to the Rule 26(f)
   3               report. Submission of a completed Exhibit A is mandatory. The current
   4               entries in the "Weeks Before Trial" column merely reflect what the

   5               Court believes are appropriate for many, if not most, cases; those entries
   6               are not necessarily applicable to this case, and the form is designed to
   7               enable counsel to request the Court to set different last dates by which
   8               the key requirements must be completed. Each side should write in the
   9               month, day and year it requests for each event. E.g., for the expert
   10              discovery cut−off it might be "10/7/02" for plaintiff and "10/28/02" for
   11              defendant, if they cannot agree. At the conference, the Court will review
   12              this form with counsel. Each entry proposing dates shall fall on a
   13              Monday, except the trial date which is a Tuesday. In appropriate cases
   14              the Court will order different dates after it hears from Counsel. The
   15              proposed non−expert and expert discovery cut−off date means: the last
   16              day by which all depositions must be completed and responses to all

   17              previously−served written discovery must be provided. The proposed

   18              cut−off date for motions means: the last date on which motions may
   19              be heard, not noticed.

   20         k.   Other issues: a statement of any other issues affecting the status or
   21              management of the case (e.g., unusually complicated technical or
   22              technological issues, disputes over protective orders, extraordinarily
   23              voluminous document production, non−English speaking witnesses,
   24              discovery in foreign jurisdictions, etc.).
   25         l.   Conflicts: for conflict purposes, corporate parties must identify all
   26              subsidiaries, parents and affiliates.
   27   ///
   28   ///

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              m.    Patent cases: propose dates and methodology for claim construction
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                   and Markman hearings. The Court requires the parties to file
   3               concurrent opening briefs and concurrent reply briefs for the hearing.
   4               The Court intends to follow the rule for patent cases which have
   5               been adopted by the Northern District of California.
   6          n.   Magistrates: Do the parties wish to have a Magistrate Judge preside?
   7               Under 28 U.S.C. § 636, the parties may consent to have a Magistrate
   8               Judge preside over all the proceedings, not just discovery. They may
   9               pick any Magistrate Judge (not just the one assigned to this case)
   10              from among those Magistrate Judges who accept these designations.
   11              (They are identified on the Central District’s website, which also
   12              contains the consent form.)
   13
   14   The Joint Rule 26(f) Report should set forth the above enumerated information
   15   under section headings corresponding to this Order.
   16
   17         2.    Scheduling Conference.
   18
   19              Scheduling Conferences will be held in the Ronald Reagan Building,
   20   411 West Fourth Street, Court Room 10C, Santa Ana. Counsel shall comply with
   21   the following:
   22
   23         a.   Participation: The lead trial attorney must attend the Scheduling
   24              Conference, unless excused for good cause shown in advance of the

   25              Scheduling Conference.

   26         b.   Continuance: A continuance of the Scheduling Conference will be
   27              granted only for good cause.
   28   ///

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              3.    Protective Orders.
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   3                If you seek a protective order, propose it to opposing counsel before
   4     the Scheduling Conference, if at all possible. Protective Orders are considered by
   5     the Magistrate Judge assigned in this action.
   6
   7           4.    Notice to be Provided by Counsel.
   8
   9                Plaintiff’s counsel or, if plaintiff is appearing pro se, defendant’s
   10    counsel, shall provide this Order to any parties who first appear after the date of
   11    this Order and to parties who are known to exist but have not yet entered
   12    appearances.
   13
   14          5.    Disclosures to Clients.
   15
   16               Counsel are ordered to deliver to their respective clients a copy of
   17    this Order and of the Court’s Scheduling and Case Management Order, which
   18    contains the schedule that the Court sets at the Scheduling Conference.
   19
   20          6.    Court's Website.
   21
   22               Copies of this and all other orders of this Court that may become
   23    applicable to this case are available on the Central District of California website,
   24    at "www.cacd.uscourts.gov," under "Judge’s Procedures and Schedules." Copies
   25    of the Local Rules are available on the website.¹
   26
        ¹Local rules may be purchased from the following:
   27
            Los Angeles Daily Journal        West Publishing Co.             Metropolitan News
   28       915 East First Street            50 West Kellogg Boulevard       210 South Spring Street
            Los Angeles, CA 90012            St. Paul MN 55164−9979          Los Angeles, CA 90012

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     1
                The Court thanks the parties and their counsel for their anticipated
     2
           cooperation in carrying out these requirements.
     3
     4        IT IS SO ORDERED.
     5
     6    DATED: May 17, 2021
                                       James V. Selna
     7                                 United States District Judge
     8
     9    Copies to: All Counsel of Record
     10
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   3                                               EXHIBIT A
                                         JUDGE JAMES V. SELNA
   4                            PRESUMPTIVE SCHEDULE OF PRETRIAL DATES

   5                                                                    Plaintiff's   Defendant's
                                                                 Weeks Request        Request     Court
   6    Matter                                      Time         before (Insert       (Insert     Order
                                                                  trial specific      specific
   7                                                                    date)         date)
        Trial date (jury) (court)                    8:30 a.m.
   8    Estimated length: _________ days            (Tuesdays)
        [Court trial:] File Findings of Fact and
        Conclusions of Law and Summaries of                       −1
   9    Direct Testimony
        Final Pretrial Conference; Hearing on
   10   Motions in Limine; File Agreed Upon
        Set of Jury Instructions and Verdict        11:00 a.m.
   11   Forms and Joint Statement re Disputed       (Mondays)     −2
        Instructions and Verdict Forms; File
        Proposed Voir Dire Qs and Agreed−to
   12   Statement of Case
        Lodge Pretrial Conf. Order;
   13   File Memo of Contentions of Fact and                      −3
        Law; Exhibit List; Witness List; Status
   14   Report re Settlement
        Last day for hand−serving Motions in                      −6
   15   Limine
                                                     1:30 p.m.
        Last day for hearing motions                              −7
   16                                               (Mondays)
        Last day for hand−serving motions and                     −11
   17   filing (other than Motions in Limine).
        Non−expert Discovery cut−off                              −15
   18
   19             ADDITIONAL MATTERS TO BE DETERMINED AT SCHEDULING CONFERENCE
   20    L.R. 16−14 Settlement Choice: (1) CT/USMJ (2) Court Mediation Panel (3) Private ADR

   21
        Expert discovery cut−off
   22   Rebuttal Expert Witness Disclosure
        Opening Expert Witness Disclosure [See
   23   F.R.Civ.P. 26(a)(2)]
        Last day to conduct Settlement
   24   Conference
        Last day to amend pleadings or add
   25   parties

   26
   27   Revised 4−14−16
   28

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